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 9                               UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA                      )     CASE NO.       2:09-CR-00258 GEB
                                                   )
13                  Plaintiff,                     )
                                                   )     STIPULATION AND
14            v.                                   )     ORDER
                                                   )     RE: CONTINUANCE OF
15   AMANULLAH KHALIL and                          )     STATUS CONFERENCE
     MUZDHA KHALIL,                                )
16                                                 )     Date: February 12, 2010
                                                   )     Time: 8:30 a.m.
17               Defendants.                       )
     ___________________________________
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19
              With the Court’s permission, defendants AMANULLAH KHALIL and MUZDHA
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     KHALIL, and plaintiff the UNITED STATES OF AMERICA, by and through their undersigned
21
     counsel, do hereby stipulate and agree to continue the Status Conference, presently scheduled for
22
     February 12, 2010 to February 26, 2010 at 8:30 a.m. The purpose of this requested continuance
23
     is to accommodate the schedule of one of the parties.
24
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      Case 2:09-cr-00258-GEB Document 42 Filed 02/17/10 Page 2 of 2


 1   IT IS SO STIPULATED.
 2
 3   DATED:      February 9, 2010      /s/ Sean Flynn by WJP
                                       SEAN FLYNN
 4                                     Assistant United States Attorney
 5
 6   DATED:      February 9, 2010      /s/ William J. Portanova
                                       WILLIAM J. PORTANOVA
 7                                     Attorney for Defendant Amanullah Khalil
 8
     DATED:      February 9, 2010      /s/ Caro Marks
 9                                     CARO MARKS
                                       Attorney for Defendant Muzdha Khalil
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11
12   IT IS SO ORDERED.
13   Dated: February 16, 2010
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15                                  GARLAND E. BURRELL, JR.
16                                  United States District Judge

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